          Case 1:21-cr-00175-TJK Document 662 Filed 02/10/23 Page 1 of 4



               UNITED STATES DISTRICT COURT FOR THE DISTRICT
                                OF COLUMBIA

UNITED STATES OF AMERICA :
                                               :
               v.                              :       Case No. 21-CR-175-6 (TJK)
                                               :
DOMINIC PEZZOLA,                               :
                                               :
                       Defendant.              :


  DEFENDANT’S REPLY TO UNITED STATES’ OPPOSITION TO MOTION FOR
    MISTRIAL DUE TO IMPROPER USE OF WITNESS’S PLEA AGREEMENT


       Comes now defendant DOMINIC PEZZOLA (“Pezzola”), by undersigned counsel, and

hereby replies to the United States’ Opposition to Pezzola’s motion for mistrial (ECF 648) regarding

the government’s improper use of Matthew Green’s plea agreement.

       The government has not supported its Opposition with any basis of law justifying its actions.

The government has not shown why it was necessary to introduce the witness’s guilt in a conspiracy

or why it was necessary to bring in the Judge’s imprimatur. If the introduction of Green’s guilt was

not being used to impose guilt on the Defendant then what could be the probative value in that

information?

        The government finally contends that a limiting instruction can cure the impropriety of

what occurred with Green’s testimony. But limiting instructions are appropriate in a normal case

where the government merely introduces the fact that a witness has pled guilty. Here the

government went further, and emphasized that the sitting judge in the case has approved and

certified Green’s guilty plea; and that Green’s ultimate sentence depends in part on the Judge’s

assessment of Green’s honesty during his testimony.

                                           LEGAL STANDARD



                                                   1
          Case 1:21-cr-00175-TJK Document 662 Filed 02/10/23 Page 2 of 4



        Rule 403 provides that relevant evidence “may be excluded if its probative value is

substantially outweighed by the danger of unfair prejudice... confusion of the issues and misleading

the jury.” Although any evidence that is relevant and a “fact of consequence” to the action should

be admitted, Rule 403 specifies that, “relevant evidence may be excluded if unfairly prejudicial.” See

Huddleston v. United States, 485 U.S. 681, 687 (1988). At the same time, “the evidence might also

prejudice a defendant if the jury thinks his act particularly repugnant,” shocking, or offensive. See

United States v. Rogers, 287 U.S. App. D.C. 1, 918 F.2d 207, 211 (1990). Unfair prejudice, as to a

criminal defendant, speaks to the capacity of some concededly relevant evidence to lure the fact

finder into declaring guilt on a ground different from proof specific to the offense charged. See Old

Chief v. United States, 519 U.S. 172, 180 (1997). Evidence is "unfairly prejudicial" when it “tends to

suggest a decision on an improper basis.” See United States v. Houston, 813 F.3d 282, 291 (6th Cir.

2016). Evidence is also considered prejudicial if it “creates a risk that invites an irrational emotional

response from the jury.” See United States v. Seals, 813 F.3d 1038, 1043 (7th Cir. 2016). The inquiry

then rests upon whether the undue prejudicial effect of the evidence substantially outweighs its

probative value.


        In Pezzola’s case, the jury’s knowledge that Pezzola’s former friend Green has pled guilty to

the very conspiracy that Pezzola stands accused of—and that the very judge the jurors have come to

admire and respect has ratified and certified Green’s guilt—is enough to tilt this trial into

fundamental unfairness.


                                            CONCLUSION




                                                    2
             Case 1:21-cr-00175-TJK Document 662 Filed 02/10/23 Page 3 of 4



        For all the above stated reasons as well as those stated in Pezzola’s motion, we request an

order recognizing mistrial in this case. No limiting instruction or set of limiting instructions can cure

the error.

Dated: February 9, 2023

                                                                               Respectfully Submitted,

                                                                                  /s/ Roger I Roots, esq.
                                                                                   Roger I. Roots esq.
                                                                             Partner-John Pierce Law
                                                                                 21550 Oxnard Street
                                                                                3rd Floor PMB #172
                                                                            Woodland Hills, CA 91367




                                                   3
         Case 1:21-cr-00175-TJK Document 662 Filed 02/10/23 Page 4 of 4



                                   CERTIFICATE OF SERVICE
I, Roger Roots, hereby certify and attest that on Feb. 10, 2023 I uploaded and filed this document in
 this Court’s electronic ECMF filing system, thereby serving each counsel of record in this case with
                                       a true and accurate copy.
                                             /s/ Roger Roots




                                                 4
